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                                                           5
                                                           6
                                                               Counsel for Plaintiff,
                                                               DeAndros Long
                                                           7
                                                           8                                 IN THE UNITED STATES DISTRICT COURT
                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                           9
                                                          10
                                                               DEANDROS LONG,                                 Case No.

                                                          11                       Plaintiff,
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                                                          12           vs.                                    COMPLAINT FOR DAMAGES FOR
                    249 East Ocean Boulevard, Suite 501




                                                                                                              CIVIL RIGHTS VIOLATIONS UNDER
                         Telephone (562) 304-5200




                                                          13   CITY OF HAWTHORNE, a                           COLOR OF STATE LAW
                           Long Beach, CA 90802




                                                          14   Governmental Entity; A. BARLIN
                                                               (#50376); MARROQUIN (#050419);                       1) DEPRIVATION OF CIVIL RIGHTS –
                                                          15   and DOES 1-10 inclusive,                                FALSE ARREST (42 U.S.C. § 1983)
                                                          16                                                        2) UNREASONABLE SEARCH AND
                                                                                   Defendants.                         SEIZURE – EXCESSIVE FORCE (42
                                                          17                                                           U.S.C. § 1983)
                                                          18                                                        3) MUNICIPAL & SUPERVISORY
                                                                                                                       LIABILITY (42. U.S.C. § 1983)
                                                          19                                                        4) FALSE ARREST/FALSE IMPRISONMENT
                                                          20                                                        5) BATTERY
                                                                                                                    6) NEGLIGENCE
                                                          21                                                        7) VIOLATION OF BANE ACT
                                                          22                                                           (CALIFORNIA CIVIL CODE §52.1)
                                                                                                                      DEMAND FOR JURY TRIAL
                                                          23
                                                          24          COME NOW, Plaintiff DeAndros Long, for his complaint against
                                                          25   Defendants City of Hawthorne, Deputy A. Barlin (#50376), Deputy Marroquin
                                                          26   (#050419) and Does 1-10, inclusive, and allege as follows:
                                                          27

                                                          28        [2021.11.23] p-complaint.docx               1
                                                                         COMPLAINT FOR DAMAGES FOR CIVIL RIGHTS VIOLATIONS UNDER
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                                                           1                                        JURISDICTION AND VENUE
                                                           2          1.          This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and
                                                           3   1343(a)(3)-(4), because Plaintiff asserts claims arising under the laws of the United
                                                           4   States including 42 U.S.C. § 1983 and the Fourth Amendments of the United States
                                                           5   Constitution. This Court has supplemental jurisdiction over Plaintiffs’ claims arising
                                                           6   under state law pursuant to 28 U.S.C. § 1367(a), because those claims are so related
                                                           7   to the federal claims that they form part of the same case or controversy under
                                                           8   Article III of the United States Constitution.
                                                           9          2.          Venue is proper in this Court under 28 U.S.C. § 1391(b), because
                                                          10   Defendants reside in this district, and all incidents, events, and occurrences giving
                                                          11   rise to this action occurred in this district.
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                                                          12                                            INTRODUCTION
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                                                          13          3.          This civil rights action seeks compensatory and punitive damages from
                                                          14   Defendants for violating various rights under the United States Constitution and
                                                          15   state law in connection with the force used during the unlawful arrest of Plaintiff,
                                                          16   DeAndros Long, which occurred on May 26, 2020.
                                                          17          4.          At all relevant times, Plaintiff, DeAndros Long ("Plaintiff") was an
                                                          18   individual residing in the County of Los Angeles, California.
                                                          19          5.          At all relevant times, City of Hawthorne is and was a public entity
                                                          20   duly organized under the laws of the State of California, County of Los Angeles,
                                                          21   and the public employer of the police officers named as defendants in this action.
                                                          22          6.          At all relevant times, HPD was the employer of Defendants Deputy A.
                                                          23   Barlin (#50376), Deputy Marroquin (#050419) and Does 1-10, who are believed
                                                          24   to be residents of the County of Los Angeles, California. Barlin, Marroquin and
                                                          25   DOES 1-10 are sued in their individual capacity.
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                                                                         COMPLAINT FOR DAMAGES FOR CIVIL RIGHTS VIOLATIONS UNDER
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                                                           1          7.          At all relevant times, Defendants Barlin, Marroquin and DOES 1-10
                                                           2   were duly authorized employees and agents of County, who were acting under color
                                                           3   of law within the course and scope of their respective duties as police officers and
                                                           4   with the complete authority and ratification of their principal, Defendant City of
                                                           5   Hawthorne. At all relevant times, Defendants Barlin, Marroquin and DOES 1-10
                                                           6   were duly appointed officers and/or employees or agents of HPD, subject to
                                                           7   oversight and supervision by HPD’s elected and non-elected officials.
                                                           8          8.          In doing the acts and failing and omitting to act as hereinafter
                                                           9   described, Defendants Barlin, Marroquin and DOES 1-10 were acting on the
                                                          10   implied and actual permission and consent of HPD.
                                                          11          9.          The true names of Defendants DOES 1-10, inclusive, are unknown to
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                                                          12   Plaintiff, who otherwise sue these defendants by such fictitious names. Plaintiff will
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                                                          13   seek leave to amend this complaint to show the true names and capacity of these
                                                          14   defendants when they have been ascertained. Each of the fictitiously-named
                                                          15   defendants is responsible in some manner for the conduct or liabilities alleged
                                                          16   herein.
                                                          17          10.         At all times mentioned herein, each and every defendant was the agent
                                                          18   of each and every other defendant and had the legal duty to oversee and supervise
                                                          19   the hiring, conduct and employment of each and every defendant.
                                                          20                                        Tort Claim Allegations
                                                          21          11.         Plaintiff filed comprehensive and timely claims for damages with City
                                                          22   of Hawthorne pursuant to applicable sections of the California Government Code.
                                                          23   Plaintiff filed his tort claim on or around September 23, 2020. A true and correct
                                                          24   copy of said complaint is attached hereto as Exhibit “A.” Plaintiff’s claim was
                                                          25   deemed rejected by operation of law on November 7, 2020.
                                                          26
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                                                           1                                        Allegations Regarding Tolling
                                                           2          12.         By this Complaint, Plaintiff follows the teachings of Harding v.
                                                           3   Galceran, 889 F.2d 906 (9th Cir. 1989), which held that Government Code 945.3
                                                           4   operates to toll the limitations period while criminal actions are pending against the
                                                           5   potential plaintiff. Id at 908.
                                                           6          13.         On or around November 7, 2020, Plaintiff’s Claim for Damages was
                                                           7   rejected as a matter of law.
                                                           8          14.         On or around August 6, 2021, all criminal charges were dismissed in
                                                           9   favor of Mr. Long, establishing the statute of limitations to file this action on August
                                                          10   6, 2023.
                                                          11                        FACTS COMMON TO ALL CLAIMS FOR RELIEF
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                                                          12          15.          Plaintiffs repeat and reallege each and every allegation in the
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                                                          13   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          14   forth herein.
                                                          15          16.         On or around May 26, 2020, Mr. Long was driving his car heading to
                                                          16   work in the City of Hawthorne. Mr. Long was stopped at the intersection of Van
                                                          17   Ness Avenue and El Segundo Boulevard waiting for traffic to clear so that he could
                                                          18   continue along Van Ness Avenue.
                                                          19          17.         After the light turned green and without warning or probable cause,
                                                          20   Hawthorne Police Officer Barlin (Badge No. 50376) pulled behind Mr. Long,
                                                          21   activated his lights and attempted to perform a routine traffic stop.
                                                          22          18.         Mr. Long crossed the intersection and pulled to the side of the road to
                                                          23   comply with officer commands by turning his car off and rolled his window down.
                                                          24   While there, he waited for Defendant Officer Barlin to approach. Plaintiff is
                                                          25   informed and believes, and on that basis alleges Officer Barlin requested back up
                                                          26
                                                          27
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                                                                         COMPLAINT FOR DAMAGES FOR CIVIL RIGHTS VIOLATIONS UNDER
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                                                           1   assistance from Officer Marroquin (#050419), who arrived on scene to assist Mr.
                                                           2   Long with the detention.
                                                           3                                                                       19.   Within
                                                           4                                                                 moments of approaching
                                                           5                                                                 the driver’s door, Officer
                                                           6                                                                 Barlin and Marroquin
                                                           7                                                                 opened Mr. Long’s door
                                                           8                                                                 and pulled him out of the
                                                           9                                                                 vehicle. Mr. Long asked
                                                          10                                                                 Defendant Barlin for the
                                                          11                                                                 legal basis supporting
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                                                          12                                                                 the detention and why he
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                                                          13                                                                 was    being     stopped.
                                                          14                                                                 Barlin refused to answer
                                                          15   and continued his effort to extract him from the car. The incident was captured on
                                                          16   video, as depicted above.
                                                          17          20.         During the arrest, both officers punched and kicked Mr. Long in the
                                                          18   face, back and leg areas.
                                                          19          21.         The two men stopped punching Mr. Long after an eyewitness yelled
                                                          20   from across the street and advised she was filming the incident.
                                                          21          22.         Mr. Long was arrested and charged with one (1) count Penal Code §69
                                                          22   – Resisting Arrest; one (1) count of California Vehicle Code §12951(B) – Failing to
                                                          23   Present a Valid Driver’s License; and one (1) count of Vehicle Code §22350 –
                                                          24   Driving at an Unsafe Speed. To support the false charges, the City of Hawthorne
                                                          25   Officers also filed a false police report recommending prosecution against Mr. Long
                                                          26   to cover up the wrongful arrest and use of force. Namely, the reports allege Mr.
                                                          27
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                                                           1   Long was uncooperative during the arrest and that the officers had a lawful basis to
                                                           2   detain Mr. Long. Defendants Barlin, Marroquin and Does 1-5 knew or should have
                                                           3   known that Mr. Long had not committed a crime or interfered with any lawful
                                                           4   investigation. During the entire detention, Mr. Long complied with all commands
                                                           5   made of him.
                                                           6                                    Participation, State of Mind and Damages
                                                           7          23.         All Defendants acted under color of law.
                                                           8          24.         Each Defendant participated in the violations alleged herein, or directed
                                                           9   the violations alleged herein, or knew of the violations alleged herein and failed to
                                                          10   act to prevent them. Each defendant ratified, approved and acquiesced in the
                                                          11   violations alleged herein.
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                                                          12          25.         As joint actors with joint obligations, each defendant was and is
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                                                          13   responsible for the failures and omissions of the other.
                                                          14          26.         Each Defendant acted individually and in concert with the other
                                                          15   Defendants and others not named in violating Plaintiff’s rights.
                                                          16          27.         Each Defendant acted with a deliberate indifference to or reckless
                                                          17   disregard for an accused’s rights for the truth in withholding evidence from
                                                          18   prosecutors, for an investigation free of active concealment of material facts, and/or
                                                          19   for the Plaintiff’s right to due process of law.
                                                          20          28.         As a direct and proximate result of the aforesaid acts, omissions,
                                                          21   customs, practices, policies and decisions of Defendants, Plaintiff has suffered great
                                                          22   mental and physical pain, suffering, anguish, fright, nervousness, anxiety, shock,
                                                          23   humiliation, indignity, embarrassment, harm to reputation, and apprehension, which
                                                          24   have caused Plaintiff to sustain damages in a sum to be determined at trial.
                                                          25          29.         Due to the acts of the Defendants, Plaintiff has suffered and continues
                                                          26   to suffer, and is likely to suffer in the future, extreme and severe mental anguish as
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                                                                         COMPLAINT FOR DAMAGES FOR CIVIL RIGHTS VIOLATIONS UNDER
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                                                           1   well as mental and physical pain and injury. For such injury, Plaintiff will incur
                                                           2   significant damages based on psychological and medical care.
                                                           3              30.         As a further result of the conduct of each of these defendants, Plaintiff
                                                           4   has lost past and future earnings in an amount to be determined according to proof at
                                                           5   trial.
                                                           6                                            FIRST CLAIM FOR RELIEF
                                                           7       Deprivation of Civil Rights – Arrest Without Probable Cause (42 U.S.C. §
                                                           8                                                     1983)
                                                           9                     (By Long Against Deputy Barlin, Marroquin and DOES 1-5)
                                                          10              31.         Mr. Long repeats and realleges each and every allegation in the
                                                          11   preceding paragraphs of this Complaint with the same force and effect as if fully set
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                                                          12   forth herein.
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                                                          13              32.         The Fourth Amendment of the United States Constitution guarantees
                                                          14   all persons the right to be free from unreasonable searches and seizures, including
                                                          15   the right to be free from arrest without probable cause. 42 U.S.C. § 1983 provides a
                                                          16   private right of action for conduct which violates this right.
                                                          17              33.         Defendants Deputy Barlin and Marroquin and DOES 1-5 acted
                                                          18   under color of state law.
                                                          19              34.         Defendants Deputy Barlin and Marroquin and DOES 1-5 detained
                                                          20   Mr. Long without reasonable articulable suspicion or probable cause to believe he
                                                          21   had committed a crime and without a warrant, without consent and in the absence of
                                                          22   exigent circumstances. There was absolutely no reason whatsoever to conduct a
                                                          23   search and arrest Mr. Long under these circumstances, as Mr. Long was obeying all
                                                          24   traffic laws at the time of the detention. He was not speeding and immediately
                                                          25   pulled over after Barlin attempted to detain him. At all relevant times, Defendants
                                                          26   Deputy Barlin and Marroquin and DOES 1-5 knew or should have known Mr.
                                                          27
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                                                                             COMPLAINT FOR DAMAGES FOR CIVIL RIGHTS VIOLATIONS UNDER
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                                                           1   Long was innocent, and continued to detain him without a lawful justification,
                                                           2   particularly when Mr. Long asked for the legal basis supporting his detention.
                                                           3          35.         Defendants named herein, and each of them, were motivated by bad
                                                           4   faith in that Defendants had a preference toward finding Mr. Long guilty and their
                                                           5   conduct was done with deliberate indifference to and/or reckless disregard of Mr.
                                                           6   Long’s rights or for the truth.
                                                           7          36.         When Defendants detained Mr. Long without reasonable suspicion, and
                                                           8   later arrested Mr. Long without probable cause, they violated Plaintiff’s right to be
                                                           9   secure in his person against unreasonable searches and seizures as guaranteed to him
                                                          10   under the Fourth Amendment to the United States Constitution and applied to state
                                                          11   actors by the Fourteenth Amendment.
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                                                          12          37.         As a result of the conduct of Deputy Barlin and Marroquin and
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                                                          13   DOES 1-5 they are liable for Plaintiff's injuries because they were direct or integral
                                                          14   participants in the unreasonable detention and arrest, or because they failed to
                                                          15   intervene to prevent these violations.
                                                          16          38.         The conduct of Deputy Barlin and Marroquin and DOES 1-5 was
                                                          17   willful, wanton, malicious, and done with reckless disregard for Mr. Long’s rights
                                                          18   and safety, and therefore warrants the imposition of exemplary and punitive
                                                          19   damages.
                                                          20          39.         Mr. Long brings this claim individually and seeks general and special
                                                          21   damages, in an amount to be determined at trial. Plaintiff also seeks reasonable costs
                                                          22   and attorney’s fees under 42 U.S.C. §1988.
                                                          23                                        SECOND CLAIM FOR RELIEF
                                                          24                     Fourth Amendment – Excessive Force (42 U.S.C. § 1983)
                                                          25            (By Long Against Deputy Barlin and Marroquin and DOES 1-10)
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                                                           1          40.          Mr. Long repeats and realleges each and every allegation in the
                                                           2   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                           3   forth herein.
                                                           4          41.          The Fourth Amendment of the United States Constitution guarantees
                                                           5   all persons the right to be free from unreasonable or excessive force. 42 U.S.C. §
                                                           6   1983 provides a private right of action for conduct which violates this right.
                                                           7          42.         Defendants Deputy Barlin and Marroquin while acting under color
                                                           8   of law as a Deputy Sheriff, use excessive force against Mr. Long when they forcibly
                                                           9   removed Mr. Long from his car, punched him, shoved their knees into Mr. Long’s
                                                          10   back and legs. The unjustified use of force by Defendant Deputy Barlin and
                                                          11   Marroquin deprived Mr. Long of his right to be secure in his person against
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                                                          12   unreasonable searches and seizures as guaranteed to him under the 4th amendment
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                                                          13   of the United States Constitution and applied to state actors by the Fourteenth
                                                          14   Amendment.
                                                          15          43.         As a result of the foregoing, Mr. Long suffered physical pain and
                                                          16   emotional distress, loss of enjoyment of his life, and loss of earning capacity.
                                                          17          44.         The conduct of Defendant Deputy Barlin and Marroquin was willful,
                                                          18   wanton, malicious, and done with reckless disregard for the rights and safety of Mr.
                                                          19   Long, and therefore warrants the imposition of exemplary and punitive damages.
                                                          20          45.         The use of force on Mr. Long at the time of the incident was excessive
                                                          21   and unreasonable as Mr. Long posed no immediate threat to himself or any of the
                                                          22   officers at the time of the incident. Mr. Long had not threatened any officer before
                                                          23   he was removed from his car and Mr. Long complied with all limited commands
                                                          24   made of him. Further, the conduct of the defendants violated their training and
                                                          25   standard police officer training with respect to the same.
                                                          26
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                                                           1          46.         Mr. Long brings this claim individually and seeks general and special
                                                           2   damages, in an amount to be determined at trial. Plaintiff also seeks reasonable costs
                                                           3   and attorney’s fees under 42 U.S.C. §1988.
                                                           4
                                                           5                                        THIRD CLAIM FOR RELIEF
                                                                        Municipal Liability – Unconstitutional Custom, Policy or Practice
                                                           6
                                                                                                        (42 U.S.C. §1983)
                                                           7
                                                                                 Mr. Long v. Defendant City of Hawthorne and Does 1-10
                                                           8
                                                                      47.         Mr. Long repeats and realleges each and every allegation in the
                                                           9
                                                               preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          10
                                                               forth herein.
                                                          11
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                                                                      48.         The City of Hawthorne Policy Manual was designed to guide and direct
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                                                          12
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                                                               employees of the City of Hawthorne in the performance of their duties. It provides
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                                                          13
                                                               guidance in the areas of laws of arrest and the force to be use during an arrest, as
                                                          14
                                                               appropriate.
                                                          15
                                                                      49.         At all times herein alleged, Defendants Barlin, Marroquin were acting
                                                          16
                                                               pursuant to Section 300.3 of the Hawthorne Police Policy Manual, which directs
                                                          17
                                                               officers to use the level of force they reasonably believe is proportional to the
                                                          18
                                                               seriousness of the suspected offense or the reasonably perceived level of actual or
                                                          19
                                                               threatened resistance.
                                                          20
                                                                      50.         Mr. Long is informed and believes, and on that basis alleges
                                                          21
                                                               Defendants Barlin, Marroquin And Does 1-5 were not disciplined for the arrest
                                                          22
                                                               and prosecution of Mr. Long.
                                                          23
                                                                              Pattern and Practice of Profiling, Harassment and False Reports
                                                          24
                                                                      51.          For years, Defendant City of Hawthorne have had a pattern and
                                                          25
                                                               practice of harassing and profiling black and Latino residents of Hawthorne, who
                                                          26
                                                               also live in Los Angeles County. HPD officers routinely fail to articulate facts
                                                          27
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                                                           1   sufficient to support the predicate of reasonable suspicion required for a detention
                                                           2   consistent with the Fourth Amendment under Terry v. Ohio, 392 U.S. 1, 21 (1986).
                                                           3          52.         This pattern or practice of misconduct violates the Constitution and
                                                           4   federal law through: pedestrian and vehicle stops that violate the Fourth
                                                           5   Amendment; stops that appear motivated by racial bias, in violation of the
                                                           6   Fourteenth Amendment and federal statutory law; the use of unreasonable force in
                                                           7   violation of the Fourth Amendment; and discrimination against African-American
                                                           8   residents of the County of Los on the basis of race without probable cause.
                                                           9          53. In one instance, for example, video footage captured up to seven HPD
                                                          10   officers draw their weapons on one unarmed suspect while the suspect is on his
                                                          11   knees with his hands clasped behind his head and has his back turned, facing away
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                                                          12   from officers.
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                                                          13          54.         In another instance, videotape shows two Hawthorne police officers
                                                          14   slapping high-fives in the aftermath of an arrest in which one of their co-workers
                                                          15   allegedly kicked and handcuffed Felix Sanchez in the face, breaking his jaw.
                                                          16   Sanchez was not treated by paramedics or taken to the hospital despite a department
                                                          17   policy that requires officers to seek medical attention for those with visible injuries.
                                                          18   Sanchez was not taken to a hospital until after his release from jail and later
                                                          19   prosecuted in criminal court. His criminal case was dismissed.
                                                          20          55.         Moreover, the City of Hawthorne stops and searches African
                                                          21   Americans and Latinos in the County based in part on impermissible consideration
                                                          22   of race or ethnicity. Historical data suggests a clear racial disparity for African
                                                          23   Americans when stopped for offenses where law enforcement discretion is greatest.
                                                          24   Such charges include offenses such as crossing against a traffic light, jaywalking,
                                                          25   failing to yield right of way, or walking on the wrong side of the street.
                                                          26
                                                          27
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                                                           1          56.         HPD also continues a pattern and practice of using force and arresting
                                                           2   someone only for obstruction of justice, thus raising the question of what legitimate
                                                           3   law enforcement objective was being obstructed.
                                                           4          57.            The HPD currently possesses an obstructive custom and practice
                                                           5   designed to discourage meaningful oversight over rogue employees. At all times
                                                           6   herein mentioned, there was a custom and practice of practice of allowing HPD
                                                           7   Officers to regularly deploy excessive force or harass citizens with impunity. In
                                                           8   particular, officers employed by Defendants HPD harassed citizens without probable
                                                           9   cause, caused criminal charges to be filed against citizens to avoid civil liability and
                                                          10   used excessive force on persons who were unarmed and/or did not represent a threat
                                                          11   to life or of serious bodily injury as identified below to support baseless section
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                                                          12   without probable cause. These officers encouraged, and in some cases directly
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                                                          13   participated, in the filing of criminal charges in similar cases where citizens
                                                          14   exercised their rights under the United States Constitution. These incidents did not
                                                          15   result in discipline and this culture of a lack of accountability were a moving force
                                                          16   in the detention, investigation and prosecution of Mr. Long by Officers Barlin and
                                                          17   Marroquin.
                                                          18          58.         The following are a list of incidents exemplifying the aforementioned
                                                          19   policies, customs, practices and usages of Defendant HPD:
                                                          20                A. False Arrest and Excessive Force. On March 20, 2015, an officer in an
                                                          21                      unmarked car was riding behind Pale Tangitau, his wife and his family,
                                                          22                      including his two children. The officer pulled his wife over but did not
                                                          23                      give her a ticket. Instead, 2 officers, Jose Saldana (#21) and
                                                          24                      Christopher Komathy (Shield # unknown), approached Tangitau in the
                                                          25                      backseat of the car from both sides. Although he complied with officers
                                                          26                      every command, an officer drew his gun and pointed it at Pale in front
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                                                           1                    of the children. HPD officers told him he was being arrested for
                                                           2                    violating his probation, which was later proven to be false as his
                                                           3                    probation terminated a year earlier. The officers him out of the police
                                                           4                    car and slammed him to the ground consequently breaking his arm.
                                                           5                    Tangitau was ultimately charged with resisting arrest and booked at the
                                                           6                    Hawthorne police station. Once he was booked at LA County jail, he
                                                           7                    continued to complain about his arm pain and finally received the x-ray
                                                           8                    confirming his arm was broken.
                                                           9              B. False Arrest and Excessive Force. On the evening of February 13,
                                                          10                    2014, Jonathan Mesiter, a profoundly deaf person was beaten and tased
                                                          11                    by officers employed by the City of Hawthorne while retrieving some
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                                                          12                    personal items from his friends’ and former roommates’ home. HPD
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                                                          13                    was called to investigate “suspicious circumstances.” On arrival, HPD
                                                          14                    officers grabbed his wrists, turning him around so he could not see
                                                          15                    them. The officers described the force they employed on the incident in
                                                          16                    their reports, including a lethal chokehold and kneed Mesiter twice in
                                                          17                    the abdomen, and several punches to the face. Once he was booked at
                                                          18                    the station, he was able to communicate in writing as to why he was on
                                                          19                    the property and he was given his phone to call for help. Mesiter was
                                                          20                    booked on resisting arrest charges.
                                                          21              C. False Arrest and Excessive Force. On the evening April 29, 2018,
                                                          22                    Floyd McLucas (a 70-year-old African American male) was home
                                                          23                    entertaining family for Sunday dinner. HPD Officers arrived at his
                                                          24                    home demanding to speak with his grandson. The officers grew angry
                                                          25                    and grabbed Floyd by his arms and ripped him out of the home,
                                                          26                    throwing him towards a pillar on the porch, ultimately straddled his
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                                                           1                      back, handcuffing him and punching him in the face. Floyd was then
                                                           2                      placed under arrest and taken into custody.
                                                           3                D. Excessive Force. On September 4, 2018, Ronnie was a suspect in a
                                                           4                      robbery when he surrendered to police officers looking for him. In
                                                           5                      compliance with officers’ orders, Ronnie exited the room he was in
                                                           6                      with his hands visibly raised. Ronnie did not have a weapon in his
                                                           7                      hands or in his possession. Still, Sergeant Espinoza subsequently shot
                                                           8                      him in his hand.
                                                           9                E. False Arrest and Excessive Force. On August 18, 2013 Daniel Saulmon
                                                          10                      was riding his bike in Hawthorne when he began to record two officers
                                                          11                      arresting someone sitting on a curb. HPD Officer Shay told him that
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                                                          12                      Saulmon was bothering the Officers and arrested him for Penal
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                                                          13                      Code§69/148. Saulmon remained in custody for 2 days and was
                                                          14                      released when the district attorney refused to press charges.
                                                          15          59.         The detention and arrest policy adopted by Defendant HPD caused
                                                          16   Plaintiff’s constitutional violation and his injuries, including severe pain and
                                                          17   suffering, mental anguish, humiliation, and emotional distress.
                                                          18          60.         Defendants HPD together with other various other officials, whether
                                                          19   named or unnamed, had either actual or knowledge of the HPD policies, practices
                                                          20   and customs alleged in the paragraphs above. Despite having knowledge as stated
                                                          21   above these defendants condoned, tolerated and through actions and inactions
                                                          22   thereby ratified such policies. Said defendant also acted with deliberate indifference
                                                          23   to the foreseeable effects and consequences of these policies with respect to the
                                                          24   constitutional rights of Plaintiff, and other individuals similarly situated.
                                                          25          61.         Plaintiff brings this claim in his individual capacities and in each case
                                                          26   seeks compensatory damages, including loss of consortium, past and future financial
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                                                           1   loss, physical injuries, and emotional and mental distress for the violation of
                                                           2   Plaintiffs’ rights. Plaintiffs also seek punitive damages and attorney’s fees under this
                                                           3   claim.
                                                           4                                        FOURTH CLAIM FOR RELIEF
                                                           5                            False Arrest and Imprisonment – Excessive Force
                                                           6                                            California State Law
                                                           7     (By Long Against Officers Barlin and Marroquin; City of Hawthorne And
                                                           8                                                 Does 1-5)
                                                           9            62.       Plaintiff repeats and realleges each and every allegation in the
                                                          10   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          11   forth herein.
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                                                          12            63.       This cause of action arises under the general laws and Constitution of
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                                                          13   the State of California. Plaintiffs have complied with the California Tort Claims Act
                                                          14   requirements.
                                                          15            64.       Defendants Deputy Barlin and Marroquin; City of Hawthorne and
                                                          16   DOES 1-10 while acting within the course and scope of their duties as officers with
                                                          17   the LASD intentionally deprived Mr. Long of his freedom and freedom of
                                                          18   movement by menace, fraud, deceit, and unreasonable duress. Defendants without
                                                          19   reasonable suspicion or probable cause arrested Mr. Long without a warrant.
                                                          20            65.       At all relevant times, Defendants knew or should have known Mr. Long
                                                          21   was innocent. Defendants failed to take action to rectify the false statements made
                                                          22   within their police reports and knowingly provided false testimony during Mr.
                                                          23   Long’s criminal prosecution.
                                                          24            66.       City of Hawthorne is vicariously liable for the wrongful acts of Deputy
                                                          25   Barlin and Marroquin and DOES 1-10 pursuant to section 815.2(a) of the
                                                          26   California Government Code, which provides that a public entity is liable for the
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                                                           1   injuries caused by its employees within the scope of employment if the employee’s
                                                           2   act would subject him or her to liability.
                                                           3          67.         As a direct and proximate result of the aforementioned conduct, Mr.
                                                           4   Long was arrested, detained and endured a criminal prosecution spanning nearly 10
                                                           5   months, and suffered a loss of liberty, past and future earnings, and emotional
                                                           6   distress.
                                                           7          68.         The conduct of Defendants Barlin and Marroquin and Does 1-10 was
                                                           8   willful, wanton, malicious, and done with an evil motive and intent and a reckless
                                                           9   disregard for the rights and safety of Mr. Long and therefore warrants the imposition
                                                          10   of exemplary and punitive damages.
                                                          11          69.         Mr. Long brings this claim individually and seeks general and special
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                                                          12   damages, in an amount to be determined at trial.
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                                                          13                                        FIFTH CLAIM FOR RELIEF
                                                          14                                                 Battery
                                                          15                                          (California State Law)
                                                          16   (By Long Against Deputy Barlin and Marroquin; City of Hawthorne And Does
                                                          17                                                  1-10)
                                                          18          70.          Plaintiff repeats and realleges each and every allegation in the
                                                          19   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          20   forth herein.
                                                          21          71.         This cause of action arises under the general laws and Constitution of
                                                          22   the State of California. Plaintiffs have complied with the California Tort Claims Act
                                                          23   requirements.
                                                          24          72.         Defendants Barlin and Marroquin and Does 1-10, as pleaded herein
                                                          25   above, when said Defendants acted intentionally to cause, and did cause, said non-
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                                                           1   consensual, unprivileged, unjustified, excessive, harmful or offensive contact to Mr.
                                                           2   Long’s body by punching, kneeling and striking him.
                                                           3          73.         These acts were undertaken by Defendants Barlin and Marroquin
                                                           4   and Does 1-10 intentionally and without justification.
                                                           5          74.         As a result of these deliberate and unjustified acts undertaken by
                                                           6   Defendants Barlin and Marroquin and Does 1-5, Mr. Long endured great physical
                                                           7   and emotional pain and suffering.
                                                           8          75.         These deliberate and unjustified acts undertaken by Defendants Barlin
                                                           9   and Marroquin and Does 1-10 were willful and done with a deliberate disregard
                                                          10   for the rights and safety of Mr. Long and, therefore, warrant the imposition of
                                                          11   punitive damages as to Defendants Barlin and Marroquin and Does 1-10.
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                                                          12          76.         Defendants City of Hawthorne is liable to Plaintiffs for the acts of
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                                                          13   their public employees, the individual Defendants herein, for conduct and/or
                                                          14   omissions herein alleged, pursuant to the doctrine of respondeat superior, codified at
                                                          15   California Government Code § 815.2
                                                          16                                        SIXTH CLAIM FOR RELIEF
                                                          17                                               Negligence
                                                          18   (By Long Against Deputy Barlin and Marroquin; City of Hawthorne And Does
                                                          19                                                  1-4)
                                                          20          77.         Plaintiff repeats and realleges each and every allegation in the
                                                          21   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          22   forth herein.
                                                          23          78.         Los Angeles County Deputy Sheriffs, including Defendants Barlin and
                                                          24   Marroquin and Does 1-4 have a duty to use reasonable care to prevent harm or
                                                          25   injury to others. This duty includes, but is not limited to, not arresting persons
                                                          26   without reasonable suspicion or probable cause; not using improper, suggestive, or
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                                                           1   coercive techniques to procure false eyewitness identifications; using false evidence;
                                                           2   fabricating evidence; failing to disclose exculpatory evidence; investigating proper
                                                           3   suspects; and not maliciously arresting or causing the wrongful conviction of
                                                           4   innocent persons. Law enforcement agencies also have a duty to properly hire, train,
                                                           5   and supervise police officer employees.
                                                           6           79.        Defendants Barlin and Marroquin and Does 1-4 breached this duty
                                                           7   of care. Upon information and belief, the actions and inactions of Defendants were
                                                           8   negligent and reckless, including but not limited to:
                                                           9                        (a) The failure to properly and adequately assess the need to detain
                                                          10                                 and arrest Mr. Long;
                                                          11                      (b)        Arresting Mr. Long without probable cause or reasonable
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                                                          12                                 suspicion;
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                                                          13                      (c)        Using improper, suggestive, or coercive techniques to detain Mr.
                                                          14                                 Long;
                                                          15                      (d)        Using false evidence in pursuing a criminal case against Mr.
                                                          16                                 Long;
                                                          17                      (e)        Fabricating evidence;
                                                          18                      (f)        Failing to disclose exculpatory evidence;
                                                          19                      (g)        Causing the wrongful arrest and conviction of Mr. Long.
                                                          20           80.        Defendant City of Hawthorne also failed to properly hire, train, and
                                                          21   supervise police officer employees in order to prevent the wrongful arrest of Mr.
                                                          22   Long.
                                                          23           81.        Each of the Defendants knew or should have known the detention and
                                                          24   arrest of Mr. Long was false or procured by improper suggestion or influence. At all
                                                          25   relevant times, Defendants knew or should have known Mr. Long was innocent.
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                                                           1          82.         County of Los Angeles is vicariously liable for the wrongful acts of
                                                           2   Barlin and Marroquin and Does 1-10 pursuant to section 815.2(a) of the
                                                           3   California Government Code, which provides that a public entity is liable for the
                                                           4   injuries caused by its employees within the scope of employment if the employee’s
                                                           5   act would subject him or her to liability.
                                                           6          83.         Mr. Long brings this claim individually and seeks general and special
                                                           7   damages, in an amount to be determined at trial.
                                                           8                                        SEVENTH CLAIM FOR RELIEF
                                                           9                  Violation of Bane Act (California Civil Code §§52 and 52.1)
                                                          10   (By Long Against Deputy Barlin and Marroquin; City of Hawthorne And Does
                                                          11                                                  1-10)
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                                                          12          84.         Plaintiff repeats and realleges each and every allegation in the
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                                                          13   preceding paragraphs of this Complaint with the same force and effect as if fully set
                                                          14   forth herein.
                                                          15          85.         As alleged herein, Defendants Barlin and Marroquin interfered with
                                                          16   Mr. Long’s rights under state and federal laws and under the state and federal
                                                          17   constitution including, without limitation, the right to be free from unreasonable
                                                          18   search and seizure, the right to due process, and the right to bodily integrity,
                                                          19   including his rights under the Fourth and Fourteenth Amendments to the United
                                                          20   States Constitution, and his rights under Article 1, Sections 1, 7 and/or 13 of the
                                                          21   California Constitution.
                                                          22          86.         As a result of their conduct, Barlin and Marroquin and Does 1-10 are
                                                          23   liable for PLAINTIFFS’ injuries, either because they were integral participants in
                                                          24   the misconduct, or because they failed to intervene to prevent these violations.
                                                          25          87.         As a direct and proximate result of the aforementioned wrongful acts of
                                                          26   Barlin and Marroquin and Does 1-10, individually and as peace officers, Mr.
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                                                           1   Long sustained and incurred damages for physical injuries, emotional injury and
                                                           2   pain, mental anguish, suffering, humiliation, embarrassment, as well as harm to his
                                                           3   reputation in the community.
                                                           4          88.         The conduct of Barlin and Marroquin and Does 1-10 individually
                                                           5   and as peace officers, was malicious, wanton, oppressive, and accomplished with a
                                                           6   conscious disregard for the rights of Mr. Long, entitling Mr. Long to an award of
                                                           7   exemplary and punitive damages. Mr. Long does not seek punitive damages against
                                                           8   the County of Los Angeles.
                                                           9          89.         Mr. Long seeks statutory damages under California Civil Code §52,
                                                          10   including attorneys fees, as well as compensatory and punitive damages according
                                                          11   to proof.
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                                                           1                                               PRAYER
                                                           2          WHEREFORE, Plaintiffs pray judgment against Defendants and each of
                                                           3   them, as to all Claims for Relief as follows:
                                                           4                A. For compensatory, general, special and incidental damages, in amounts
                                                           5                      according to proof at trial;
                                                           6                B. For costs of suit;
                                                           7                C. For reasonable attorneys’ fees under federal and state law, including a
                                                           8                      multiplier and litigation expenses;
                                                           9                D. For prejudgment interest;
                                                          10                E. For such other equitable or legal relief as this Court deems just and
                                                          11                      proper.
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                                                          12                F. For punitive and exemplary damages only as provided by federal and
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                                                          13                      state law, in an amount to be proved against each individual Defendant;
                                                          14                G. For such other and further relief as the Court may deem just, proper and

                                                          15                      appropriate.
                                                          16
                                                               Dated: November___,
                                                                               30  2021                                 Respectfully Submitted,
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                                                                                                                       FILER | PALMER, LLP
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                                                          20
                                                                                                          By:
                                                          21                                                              Justin A. Palmer
                                                                                                                        Attorneys for Plaintiff
                                                          22                                                               DeAndros Long
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                                                           1                                       DEMAND FOR JURY TRIAL
                                                           2         Plaintiff hereby demands a trial by jury.
                                                           3
                                                           4
                                                               Dated: November ___,
                                                                                30  2020                           Respectfully Submitted,
                                                           5
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                                                                                                         By:
                                                                                                                      Justin A. Palmer
                                                          10                                                        Attorneys for Plaintiff
                                                                                                                       DeAndros Long
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